Case 1:25-cv-01420-RPK-RML Document2 _ Filed 03/07/25 Page1of 2 PagelD#: 14

AO 240 (Rev. 07/10) Application to Proceed in District Court Withom. | paying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the

Jiwbort Cabs Qh AT yAlbert Sadi igh Bm Qwake of)

Plaintifj/Petitioner

. chal : Civil Action No.
(Attache in Compiaint)

Defendant/Respondent )

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APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

y ; 1
1. /fincarcerated. | am being held at: R 3 “by AAS ty Ate Le Kel Garber NY 4. Att 45
If employed there, or have an account in the institution, | have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

2. If not incarcerated. If 1am employed, my employer’s name and address are:

My gross pay or wages are: $ 0. 00 - , and my take-home pay or wages are: $ 0, 00 per
(specify pay period) Cyr VY pee /0. Meanie

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment 1 Yes wh Oo
(b) Rent payments, interest, or dividends O Yes o
(c) Pension, annuity, or life insurance payments Yes Oo
(d) Disability, or worker’s compensation payments Yes KYNo
(e) Gifts, or inheritances ST Yes oes

W No

(f) Any other sources O Yes

If you answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

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4, Amount of money that I have in cash or in a checking or savings account: $ 3 ,9 00
f

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):

NOt Gt 4h Moment

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):

NOt Qk +he moment

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

Tete ot OF the moment

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

Aercur- ever $A, 000
CHi- Ove 44,000

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: Q3 oO] laws “Jit Sad Yr

Applicant's signature

Wert Lodi 9h

Printed name
